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                       Exhibit 9




                                 Exhibit 9
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Case 2:19-cv-08917-SB-KS Document 32-11 Filed 02/11/21 Page 3 of 5 Page ID #:604
       Case 2:19-cv-08917-SB-KS Document 32-11 Filed 02/11/21 Page 4 of 5 Page ID #:605
                                   !><Q8W8ZLUSeU@e  
+ceS8R>eLYe            3I>eCQQUaLSHeYZ8Z>R>SZYe8W>eR8=>e;8Y>=e]Ve SeRceV>WYUS8Q
PSUaQ>=H> e)@e<8QQ>=e8Ye8eaLZS>YYe&eaU]Q=eZ>YZLGe<URV>Z>SZQce8S=eZW]ZIFQQce
   ' +ceS8R>eLYe   
                                 e(e8ReZJ>e                U@e           
                                                                            
                                        &ROOHJH3RLQW%OYG)OXVKLQJ1<
     +ce;]YLS>YYe<USZ8<ZeLSCWR8ZLUSeLY                     
                    LYe8e<QL>SZeU@e- +e%WU]Ve41e), e- +eYLS?e
        RUSHeZJ>eVWU=]<ZYea>eV]W<I8Y>=eEURe- +e8W>eYUR>eCU=eLZ>RYe;>8WLSe ZI>e;W8T=YeU@e
        6L8SHVL8UVL8Ue+><Ue8S=e*8Se$USHe7]>SeW8S=Ye<UQQ><ZL_>Qc e

    3K>Y>eW8S=Ye8W>ea>QQePSUaSeLSe ILS8e3I>Y>eW8S=Ye8W>ea>QQePSUaSe;ce _>WY>8Ye ILS>Y>
      <USY]R>WYeLS<Q]=LSHeZIUY>eLSe,UW\IeR>WL<8e8W>8Y

    3I>e6L8SHVL8UVL8Ue URV8Sce*Z=e6//eLYeZJ>eUaS>WeU@eZJ>Y>eW8S=Ye          / LYe8e;LHe;]YLS>YY
     8S=e8eR8OUWeVQ8c>WeLSeZI>e ILS>Y>eCU=eLS=]YZWc

    5>eYZ8W\>=eZUe<9WWceDU=eMZ>RYeU@eZJ>Y>eW8S=YeYLS<>e de     
    (ZeLYeRcePSUaQ>=H>eZJ>e- +eLYeZI>e>b<Q]YL_>e=LYZWL;]ZUWeU@eZJ>Y>eW8S=Ye >eV]X<I8Y>eDU=
      LZ>RYeU@eZI>Y>eW8S=Ye>b<Q]YL_>QceEURe- +eYLS<>e        
                                                                 `e
    5>e8W>e:a8W>eUAe8S=eV8W\L<LV8Z>=eLSeY>_>W8Qe/0e8<ZL_LZL>YeJUYZ>=e;ce- e LSeZJ>eQ8YZe<U^VQ>eU@
      c>8WYeVWURUZLSHeCU=eLZ>RYeU@eZJ>Y>eW8S=Ye8S=eUZJ>We;W8S=Ye8Yea>QQ
    - +eYIUa>=eR>eLZYe=LYZWL;]ZUWe8S=eQL<>SY>e8HW>>R>SZYe (e=USZeJ8_>e8SceWe 8YUSeZUe=U];Z
     - +Ye>b<Q]YL_>e=LYZWL;]ZUWYILVeLSe41eW>H8W=LSHeZI>Y>eW8S=Y



&e=><Q8W>e]S=>WeV>S8QZceU@eV>WO]WceZJ8ZeZJ>eDW>HULSHeLYeZW]>e8S=e<UWW><Ze]S=>WeZJ>e 8aYeU@eZJ>e4SLZ>=e
2[8Z>YeUBeR>WN<8 e


"8Z>=e                                              
                                                 #b><]Z>=e8Ze         .e
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     Case 2:19-cv-08917-SB-KS Document 32-11 Filed 02/11/21 Page 5 of 5 Page ID #:606
                                   !>;R6Z6]NWTiWBi      
&eiT6S>iN[i             i/M>iERRWcNTKi[]6]>S>T][i6Z>iS6<>i96[><iaXi TiSeiX>Z[WT6Ri
QVWcR>=K> i$Bi;7RRgi7[i7icN]T>[[ i$icWaR<i]>[]NJi;WSX>]>T]Rei7T<i]Za]MIRRe i
    &eiT7S>iN\hU1i              $i7Si]M>i                             
                         
                                                                        
    i      
              L@N[i7i;RN>T]iWAi( &i#ZWaYi0,i$' i( & i[NT?
      SWVKi]M>iYZW=a;][ic>iYaZ;M7[><iGWSi( &i7Z>i[WS>iEW<iN]>S[i9>7ZNT ]M>i:Z7T<[iWAi
      3N7VKYN7WYN7W i&>;W i7T<i%7Vi"WTKi5a>TiZ7V<[ i;WRR>;]Nb>Re i
    /M>[>iZ6T<[i7Z>ic>RRiQTWcTiNTi MNT6i/M>[>iZ7T<[i7Z>ic>RRiQTWcVi9ei >Z[>7[i MNT>[>
     ;WT[aS>Z[ iNT;Ra<NTKi]MW[>iNTi'WZ]MiS>ZN;6i6Z>6[

    /M>i4N7TKYN7WXN7Wi WSY7Tei%]< i4** iN[i]M>iWcV>ZiWBi]M>[>iZ7V<[i          * N[i7i9NKi9a[NT>[[
      7V<i7iS8PWZiXR7e>ZiNVi]M>i MNT>[>iFW<iNT<a[]Ze
    2>i[]7Z_><i]Wi;6ZZeiFW<iN]>S[iWBi]M>[>iZ6V<[i[NT;>i )i i^i-
                                                              
    $]iN[iSeiQTWcR><K>i]M>i( &iN[i]M>i>d;Ra[Nb>i<N[]ZN9a]WZiWi ]M>[>iZ7T<[ i >iXaZ;M6[>iEW<
      N]>S[iWBi]M>[>iZ6T<[i>d;Ra[Nb>ReiHWSi( &i[NT;>i  i i
    2>i7Z>i7c7Z>iWC i7V=iY7Z`N;NY7]><iNV i[>b>Z7Ri*+i7;]NbN]N>[iMW[]><i9ei( &iNVi]M>iR7[]i;WaYR>iWA
     e>7Z[ iXZWSW]NTKiFW=iN]>S[iWAi]M>[>iZ7T=[i6T=iW]M>Zi9Z6T=[ i6[ic>RR
    ( &i[MWc><iS>iN][i<N[]ZN9a]WZi7T<iRN;>T[>i6KZ>>S>V][i$i<WT]iM6b>i6TeiZi 6[WVi]Wi<Wa9]
      ( &[i>d;Ra[Nb>i<N[]ZN9a]WZ[MNXiNTi0.iZ>K6Z<NVKi]M>[>iZ7T<[



$i=>;R7Z>iaV<>ZiX>V7R]eiWAiX>ZOaZfi]M7]i]M>iFZ>KWNVKiN[i]Za>i7V<i;WZZ>;]iaT<>Zi]M>i 6c[iWBi]M>i0TN]>=i
,]7]>[iWDiS>ZN;7i


!7]>=i 




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